                     Case 2:07-cr-00462-MCE Document 46 Filed 02/03/10 Page 1 of 2
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                      v.                                                  (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
               KAIAHINI QUASNE
                      (Defendant’s Name)                                  Criminal Number: 2:07CR00462-02


                                                                          Michael Bigelow, AFD
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge 1 and 3 as alleged in the violation petition filed on 10/26/2009 .
[]  was found in violation of condition(s) of supervision as to charge(s)      after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
1                                    Unlawful Use of a Controlled Substance                  08/31/2009
3                                    Failure to Participate in a Drug Testing                09/25/2009
                                     Program



The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 08/14/2008 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charge 2 is dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                 01/28/2010
                                                                 Date of Im position of Sentence




                                                                 Signature of Judicial Officer

                                                                 M ORRISON C. ENGLAND, JR., United States District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 2/3/2010
                                                                 Date
                    Case 2:07-cr-00462-MCE Document 46 Filed 02/03/10 Page 2 of 2
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:07CR00462-02                                                                Judgment - Page 2 of 2
DEFENDANT:                 KAIAHINI QUASNE



                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of 3 m onths .




[]       The court m akes the following recom m endations to the Bureau of Prisons:




[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
